                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 In re: Vioxx                                     *                  MDL Docket No. 1657
                                                  *
 PRODUCTS LIABILITY                               *                  SECTION L
 LITIGATION                                       *
                                                  *                  JUDGE FALLON
 This document relates to:                        *
                                                  *                  MAGISTRATE JUDGE
 See Lists Attached to                            *                  KNOWLES
 Original Motion                                  *
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       DEFENDANT MERCK & CO., INC.’S REPLY IN SUPPORT OF ITS
  SECOND MOTION, RULE AND INCORPORATED MEMORANDUM TO SHOW
     CAUSE WHY CASES SHOULD NOT BE DISMISSED WITH PREJUDICE
 FOR FAILURE TO COMPLY WITH THE LONE PINE REQUIREMENTS OF PTO 28

                On September 19, 2008, defendant Merck & Co., Inc. (“Merck”), moved the

Court for entry of an Order requiring plaintiffs in the cases identified in exhibits attached thereto

to show cause why their individual claims should not be dismissed with prejudice for failure to

provide a case-specific expert report as required by Pre-Trial Order No. 28 (“PTO 28”). The 448

claims identified in those exhibits all involved plaintiffs who are ineligible for the Resolution

Program. Only two sets of opposition papers (relating to 86 claims) were submitted in response

to Merck’s motion. In reply to those oppositions, and to the complete silence as to the other

claims, Merck states as follows:

A.     Claims For Which No Opposition Was Submitted

                Except for the specified instances discussed below, the overwhelming majority of

claims that were subject to Merck’s motion failed to provide a response of any kind to the

motion. These plaintiffs were provided multiple opportunities to comply with the Court’s Pre-
Trial Order 28, yet failed to do so. PTO 28 was initially entered on November 9, 2007 and

required the submission of case specific experts by either May 1, 2008 or July 1, 2008 depending

on plaintiffs’ last name. These deadlines were subsequently extended to July 1, 2008 and August

1, 2008 respectively. After receiving no response from these plaintiffs by August 10, 2008,

Merck so notified counsel of record of this material non-compliance with PTO 28 and provided a

30-day period to cure. Counsel did not respond or seek an extension on the time to comply.

Finally, after this continued non-compliance with the Court’s Order, Merck filed this Motion and

Rule to Show Cause on September 19, 2008, and the Court ordered plaintiffs to submit responses

to the motion by October 6. Yet again, as to these plaintiffs, no response has been provided.

Despite having eleven months to do so, these plaintiffs have made no effort to comply with the

Court’s Order. Accordingly, for the reasons set forth in Merck’s original moving papers, the

requested order of dismissal with prejudice should be entered as to the 362 claims listed on the

attached Exhibit C.

B.     Claims Represented by the Cory, Watson Law Firm

               In the opposition brief filed by the Cory, Watson, Crowder & DeGaris law firm,

counsel provided a detailed account of their efforts to obtain expert reports for the three of their

cases that were subject to Merck’s motion – Arthur Fulton (Case No. 05-00436), Welby Ray

Knifley (Case No. 05-05635), and Beverly Albertson & Dennis Person (Case No. 06-06236) .

Counsel further stated their belief that they would be able to resolve this issue by October 15,

2008. Accordingly, Merck requests that a ruling on its motion for dismissal as to these three

cases be deferred until October 31, or as soon thereafter as a hearing can be set.




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C.     Claims Represented by the Cellino & Barnes Law Firm

               The law firm of Cellino & Barnes filed opposition papers on behalf of its eighty-

three (83) plaintiffs that were subject to Merck’s motion. Counsel divided these plaintiffs into

three groups: (1) plaintiffs who have now (belatedly) submitted expert reports; (2) plaintiffs who

have provided stipulations of dismissal; (3) plaintiffs for whom a motion to withdraw as counsel

has been filed; and (4) plaintiffs who have died.

               As to the seven plaintiffs identified by counsel for whom a motion to withdraw as

counsel has been filed, Cellino & Barnes requests that those plaintiffs be provided additional

time to comply with PTO 28. In light of the pending motions to withdraw as counsel, Merck

requests that a ruling on its motion be deferred for 60 days as to those plaintiffs – Betty Howard

(Case No. 06-01203), Mary Ivey (Case No. 06-01203), Darlene Loyd (Case No. 06-01190),

William Martin (Case No. 06-01173), Carmen Moreno (Case No. 06-01177), Elizabeth Ricks

(Case No. 06-02200), and Jean Wittcop (Case No. 06-01177).

               As to the remaining seventy-six (76) plaintiff who have either submitted an expert

report, submitted a stipulation of dismissal, or who have subsequently died, Merck withdraws the

motion to dismiss as to those plaintiffs.

D.     Claims Represented by the Beasley, Allen Law Firm

               In the opposition brief filed by the Beasley, Allen law firm,1 counsel noted that

motions to withdraw as counsel had been filed as to fourteen (14) of the plaintiffs subject to this

motion. Orders granting five (5) of those motions to withdraw have been entered and motions in



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       Although the opposition brief filed was styled as an Objection to Merck’s First Motion
       and Rule which relates to eligible claimants, an examination of the sixteen plaintiffs
       referenced in the Objection shows that these plaintiffs were actually subject to Merck’s
       Second Motion and Rule which relates to ineligible claimants.
the other nine (9) cases remain pending. As to each of these fourteen cases, Merck requests that

a ruling on its motion for dismissal be deferred for 60 days.

               Counsel also noted that stipulations of dismissal had been filed (but not yet

entered) as to two plaintiffs who had consented to dismissal of their claims – Plaintiffs Jackson

Browning and Marlene Minnich. Accordingly, Merck withdraws the motion to dismiss as to

those two plaintiffs.

                                          CONCLUSION

               For the foregoing reasons, and the reasons stated in its opening brief, Merck

respectfully asks the court to: (a) dismiss the claims identified on Exhibit C to this brief with

prejudice; and (b) defer ruling on the motion to dismiss as to the three plaintiffs represented by

Corey, Watson until October 31.




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Dated: October 8, 2008   Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

               I hereby certify that the above and foregoing Reply has been served on Liaison

Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail and e-mail or by hand delivery and e-

mail and upon all parties by electronically uploading the same to LexisNexis File & Serve

Advanced in accordance with Pre-Trial Order No. 8B, and that the foregoing was electronically

filed with the Clerk of Court of the United States District Court for the Eastern District of

Louisiana by using the CM/ECF system which will send a Notice of Electronic Filing in accord

with the procedures established in MDL 1657, on this 8th day of October, 2008.


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